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EASTERN DlSTRlCT oF TEXAS
IN THE UNITED STATES DISTRICT CoURT JUL 1 3 2018
FoR THE EASTERN DISTRICT oF TEXAS
TYLER DIVISION
§§WED
UNITED STATES oF AMERICA §
§ ‘ .
v. § No. 6; S_C _L!Z
§ Judge h/j l L
JoRGE FERNANDo MERCADO §
§
INDICTMENT

THE UNITED STATES GRAND JURY CHARGES:
Count One

Violation: 16 U.S.C. §§ 703 and 707(b)
(Unlawful Sale of Migratory Birds)

On or about Septernber 30, 2017, in the Eastern District of TeXas and elsewhere,
Jorge Fernando Mercado, defendant, did unlawfully offer to sell, and sell, protected
Wildlife, to-Wit: a migratory bird, to Wit: a live Eastern Screech-Owl (Megascops asio), in

Violation of 16 U.S.C. §§ 703 and 707(b).

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GRANH JURY FoREPERSoN

JOSEPH D. BROWN
UNITED STATES ATTORNEY

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Indictment - Page 1 of 2

Case 6:18-Cr-OOO48-.]DL Document 1 Filed 07/18/18 Page 2 of 2 Page|D #: 2

lN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DlSTRlCT OF TEXAS

 

TYLER DIVISION
UNITED STATES OF Al\/IERICA §
§
v. § NO. 6:18-CR
§ Judge
§
JORGE FERNANDO MERCADO §
NOTICE OF PENALTY
Count One
Violation: 16 U.S.C. §§ 703, and 707(b) (Unlanul Sale of
Migratory Birds)
Penalty: A fine of not more than $25(),()00.00 or two times the

pecuniary gain or loss caused by the offense;
imprisonment for not more than two (2) years; a term
of supervised release of not more than one (l) year. 16
U.S.C. § 707(b); 18 U.S.C. §§ 3571(b)(3), (c)(3) and

(d).

Special Assessment: $100.00

Indictment - Page 2 of 2

